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53-2023-CR-00716

Warrant No. 2023-01185 Pagel of1

STATE OF NORTH DAKOTA IN DISTRICT COURT

COUNTY OF WILLIAMS NORTHWEST JUDICIAL DISTRICT
SEARCH WARRANT
Incident Report No.

TO ANY PEACE OFFICER OF THIS STATE:

Affidavit having been made before me by Amber Dickerson, Williams County Sheriffs Office, that
there is reason to believe that on or within the person known as Cameron Monte Smith, DOB: 09-30-
1974, presently located at the Williams County Correctional Center, in the city of Williston, in Williams
County, ND, there is now being concealed evidence or property, namely, DNA evidence in the form of
blood and/or saliva and/or hair fibers , described with particularity in the attached and incorporated
exhibit, which:

«Js evidence of a crime;

and as I am satisfied that there is probable cause to believe that the evidence or property so described is
being concealed on the above-described.

YOU ARE HEREBY COMMANDED to search, within ten [10] days after receiving this warrant,
the named for the evidence or property specified; serving this warrant and making the search during
daytime only (6:00AM to 10:00PM), and if the property is found there, to seize it, leaving a copy of this
warrant and a receipt for the property seized, and prepare a written inventory of the property seized and
bring the property before me.

Given under my hand, with the seal of said court affixed, this 15th day of May, 2023 at 11:40:28 AM
CT.

Joshi Rusted

Cet, focal

Magistrate
Additional Facts Sworn to and Recording left with Magistrate , ]¥es [RX] No
Nighttime Service Authorized [ ] Yes [X]}No

Service Authorized Without Law Enforcement Announcing Entry []Yes [X]No

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53-2023-CR-00716

ORIGIpI:

Warrant No. 2023-01187 Pagel ofl

STATE OF NORTH DAKOTA. IN DISTRICT COURT

COUNTY OF WILLIAMS NORTHWEST JUDICIAL DISTRICT
SEARCH WARRANT
Incident Report No.

TO ANY PEACE OFFICER OF THIS STATE:

Affidavit having been made before me by Amber Dickerson, Williams County Sheriffs Office, that
there is reason. to believe that on or within the premises known as the Microtel Inn & Suites, Room #123,
identified as a four-story, multi-room hotel, tan/ in color, presently located at 3820 4th Avenue West,
Williston, Williams County, ND, , there is now being concealed evidence or property, namely,
documents, correspondence, and/or other writings, whether in paper or electronic format; cash/currency
and financial related documentation; electronic devices, described with particularity in the attached and
incorporated exhibit, which:

«Is evidence of a crime;

and as I am satisfied that there is probable cause to believe that the evidence or property so described is
being concealed on the premises above-described.

YOU ARE HEREBY COMMANDEDB to search, within ten [10] days after receiving this warrant,
the premises named for the evidence or property specified; serving this warrant and making the search
during daytime only (6:00AM to 10:00PM), and ifthe property is found there, to seize it, leaving a copy
of this warrant and a receipt for the property seized, and prepare a written inventory of the property
seized and bring the property before me.

Given under my hand, with the seal of said court affixed, this 15th day of May, 2023 at 11:40:48 AM
CT.

Joshua Ruxtad

3, Givalee’

Magistrate
Additional Facts Sworn to and Recording left with Magistrate []Yes [X]No
Nighttime Service Authorized [] Yes [X]No

Service Authorized Without Law Enforcement Announcing Entry [] Yes [X] No
